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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

        v.                                               Criminal Action No. 1:21-cr-00268 (CJN)

JEFFREY MCKELLOP,

                Defendant.


                                       SCHEDULING ORDER

         Trial is set to commence in this matter on February 14, 2023, at 9:00 a.m., in Courtroom

19. Jury selection will take place on February 13, 2022, at 9:00 a.m. in the Ceremonial

Courtroom. Jury selection and the trial will be conducted in accordance with Appendix 8 of the

Continuity of Operations Plan for COVID-19, assuming it is still in effect. The following

deadlines shall govern pretrial proceedings:

   1.           The Parties shall file their pretrial motions (including motions in limine), if any, on

                or before December 8, 2022; oppositions shall be filed on or before December 22,

                2022; and replies shall be filed on or before December 29, 2022. The Parties shall

                also meet and confer by December 22, 2022, to discuss whether any issues

                presented by the pretrial motions can be resolved by agreement of the Parties.

   2.           The United States shall notify Defendant of its intention to introduce any Rule

                404(b) evidence not already disclosed on or before January 26, 2023.

   3.           The United States should endeavor to make grand jury and Jencks Act disclosures

                as to each witness it expects to call in its case-in-chief on or before January 26,

                2023. Any Brady material not already disclosed also must be disclosed by this date.




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4.         On or before January 26, 2023, counsel shall file a Joint Pretrial Statement that

           contains the following:

      a.          A neutral statement of the case. The Parties shall include a neutral statement

                  of the case for the court to read to prospective jurors.

      b.          Proposed voir dire questions. The Parties shall indicate the voir dire

                  questions on which they agree; and the voir dire questions on which they

                  disagree with specific objections and relevant legal authority noted below

                  each disputed question.

      c.          Proposed jury instructions. The Parties shall submit a list of all standard jury

                  instructions from the “Red Book” (Criminal Jury Instructions for D.C.

                  (Barbara A. Bergman ed., May 2016 ed.)) that they wish to include in the

                  final instructions. The Parties need not submit the full text of any standard

                  jury instruction but should provide the full text of (1) any modified standard

                  jury instruction, with the proposed modification(s) redlined, and (2) any

                  non-standard jury instruction they wish to have the court include. As to each

                  non-standard jury instruction, the sponsoring party should cite legal

                  authority for the proposed instruction, and the non-sponsoring party should

                  state any objection to the instruction, including any proposed modifications.

      d.          List of witnesses. The Parties shall identify the witnesses that each side

                  anticipates it may call in its case-in-chief. Only upon leave of court and a

                  showing of good cause will a party be permitted to withhold a witness’s

                  identity.




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      e.          Exhibit lists. The Parties shall include an exhibit list that each side

                  anticipates it may introduce in its case-in-chief. The Parties need not list any

                  exhibit that might be used for purposes of impeachment. The Parties should

                  confer with Courtroom Deputy Courtney Lesley about the format of the

                  exhibit list. The Parties should not provide a copy of the exhibits to the

                  Court but must exchange pre-marked exhibits. The Parties must be prepared

                  to raise objections to any proposed exhibit at the Pretrial Conference. The

                  objecting party shall bring three copies of any contested exhibit to the

                  Pretrial Conference.

      f.          Stipulations. The Parties shall submit a draft of all stipulations.

      g.          Proposed verdict form. The Parties shall include a draft verdict form,

                  including any special interrogatories. The draft verdict form should include

                  a date and signature line for the jury foreperson.

5.         In addition to filing the Joint Pretrial Statement, on January 26, 2023, the Parties

           shall transmit, in Word format, an electronic copy of (a) any proposed modification

           to a standard jury instruction, (b) any non-standard jury instruction, and (c) the

           verdict form by email to the Courtroom Deputy Ms. Courtney Lesley at

           Courtney_Lesley@dcd.uscourts.gov.

6.         Counsel shall appear on January 5, 2023, at 2:00 p.m., in person for a hearing on

           any issues presented by the pretrial motions filed pursuant to paragraph 1.

7.         In addition, counsel shall appear on February 3, 2023, at 1:00 p.m., for a Pretrial

           Conference in Courtroom 19.




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DATE: September 9, 2022
                                              CARL J. NICHOLS
                                              United States District Judge




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